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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

HOMELAND INSURANCE COMPANY OF
NEW YORK,
       Plaintiff,                                           CIVIL ACTION NO. 1:20-CV-783
v.
CLINICAL PATHOLOGY
LABORATORIES, INC., AND SONIC
HEALTHCARE USA, INC.,
       Defendants.


                    DEFENDANTS’ SUR-REPLY TO PLAINTIFF’S REPLY
                       IN SUPPORT OF ITS MOTIONS TO COMPEL

       Plaintiff asserts in its reply brief in support of its motions to compel that Defendants’

response brief was “late.” See Dkt. Nos. 157 & 158 at 2, n.1. That assertion is incorrect.

       On September 15, 2022, and September 21, 2022, Plaintiff filed motions for leave to file

two separate motions to compel under seal. See Dkt. Nos. 143 & 147. On October 3, 2022, the

Court granted Homeland’s respective motions for leave. See Text Orders (Oct. 3, 2022). That

same day, the Clerk filed Homeland’s sealed motions on the Docket. See Dkt. Nos. 151 & 152.

       Local Rule CV-7(b), which regards situations where “a motion for leave” is filed, provides

that “after leave is granted, any applicable time limits triggered by the [motion] shall run from the

filing of the [motion] by the clerk or otherwise.” Local Rule CV-7(b) (emphasis added). Thus,

Defendants’ time limit for responding to Homeland’s motions ran from October 3, 2022, which is

when the Clerk filed on the Docket Homeland’s sealed motions to compel. Under Local Rule

CV-7(d)(2), Defendants had seven days to file a response—i.e., Defendants had until October 10,

2022. Defendants filed their response on October 10, 2022. See Dkt. No. 155. Thus, contrary to

Plaintiff’s assertion, Defendants’ response brief was not “late.”



                                                                                            Exhibit B
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Dated: October 24, 2022

                                          Respectfully submitted,


                                          By: /s/ Ernest Martin
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                                                                            Exhibit B
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                             CERTIFICATE OF CONFERENCE

        I hereby certify that, consistent with Local Court Rule CV-7(i), counsel for Defendants and
counsel for Plaintiff conferred by e-mail regarding this motion prior to its filing and were unable
to reach an agreement regarding the same.

                                                         /s/ Greg Van Houten
                                                             Greg Van Houten


                                CERTIFICATE OF SERVICE

        I hereby certify that, consistent with Local Court Rule CV-5, a true and correct copy of
the foregoing was sent to all parties of record pursuant to the Electronic Filing Procedures and
the Federal Rules of Civil Procedure on this 24th Day of October 2022.

                                                         /s/ Ernest Martin
                                                             Ernest Martin




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                                                                                          Exhibit B
